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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

UNITED STATES OF AMERICA : Hon. Joseph A. Dickson
V. : Mag. No. 20-8102
YEZENIA CASTILLO : ORDER FOR A CONTINUANCE

a/k/a “Yezenia Maldanado”

This matter having come before the Court on the joint application of
Craig Carpenito, United States Attorney for the District of New Jersey (by Vijay
Dewan and Sammi Malek, Assistant United States Attorneys), and defendant
Yezenia Castillo (by Suzanne Axel, Esq.), for an order granting a continuance of
the proceedings in the above-captioned matter from the date this Order is
signed through and including April 30, 2020 to permit defense counsel the
reasonable time necessary for effective preparation in this matter and to allow
the parties to conduct plea negotiations; and the defendant, through his
attorney, having consented to the continuance; and this being the first request
for a continuance in this matter, and for good and sufficient cause shown,

IT IS THE FINDING OF THIS COURT that this action should be
continued for the following reasons:

(1) Defense counsel requires additional time to examine the pleadings
and gather facts;

(2) The grant of a continuance will likely conserve judicial resources; and
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(3) Plea negotiations are anticipated, and the parties desire additional
time to negotiate a plea agreement, which would render any subsequent trial of
this matter unnecessary; and

(4) Pursuant to Title 18, United States Code, Section 3161(h)(7), the ends
of justice served by granting the continuance outweigh the best interests of the
public and the defendant ina spe trial.

WHEREFORE, it is on this day of March, 2020;

ORDERED that this action be, and it hereby is, continued from the date
this Order is signed through and including April 30, 2020; and it is further

ORDERED that the period from the date this Order is signed through
and including April 30, 2020 shall be excludable in computing time under the

Speedy Trial Act of 1974.

  

SEPH A. DICKSON
United States Magistrate Judge

 

Form and entry corisented to:

Nl.

SCAR Ge Axel, EG / BTM T, AA
euzanae for Defendant 7

/s/ Vay Dewan

 

Vijay Dewan
Assistant U.S. Attorney
